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 9                           UNITED STATES DISTRICT COURT

10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

11   UNITED STATES OF AMERICA,                No.   SA CR 15-63(A)-JLS

12             Plaintiff,                     GOVERNMENT’S POST-HEARING
                                              SUPPLEMENTAL BRIEFING OPPOSING
13                   v.                       DEFENDANT’S MOTIONS TO SUPPRESS
                                              EVIDENCE AND COMPEL DISCOVERY
14   TODD CHRISTIAN HARTMAN,

15             Defendant.

16        The government files its court-authorized, post-hearing
17   supplemental briefing to its opposition to defendant’s motion to
18   suppress evidence and motion to compel discovery pursuant to Federal
19   Rule of Criminal Procedure 16.
20   Dated: November 6, 2015              Respectfully submitted,
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                                             /s/
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.   INTRODUCTION
 3        A. Motion to Suppress Evidence

 4        On September 18, 2015, defendant Todd Christian Hartman

 5   (“defendant”) filed a motion to suppress arguing that all evidence of

 6   statements made by defendant, and evidence derived from those

 7   statements, be suppressed because they were obtained in violation of

 8   Miranda v. Arizona, 384 U.S. 436 (1966).         On September 24, 2015, the

 9   government filed its opposition.       On October 2, 2015, defendant filed

10   a reply brief.    On October 27 and 28, 2015, the Court held an

11   evidentiary hearing, including testimony from several witnesses.

12        B. Motion to Compel Discovery

13        On September 18, 2015, defendant filed a motion to compel

14   extensive discovery relating to Peer Spectre, including its

15   specifications and a copy of the software itself.          On September 24,

16   2015, the government filed it opposition.         On October 2, 2015,

17   defendant filed a reply brief and on October 8, 2015, defendant

18   supplemented its reply with a declaration from Tami L. Loehrs.             On

19   October 16, 2015, the Court continued the motions hearing to October

20   27, 2015, in part, to provide the government with an opportunity to

21   submit a written response to Ms. Loehrs’ declaration.           On October 23,

22   2015, the government filed supplemental briefing and exhibits.             At

23   the evidentiary hearing on October 27, 2015, the Court heard

24   testimony from Ms. Loehrs.      After the government proposed that a

25   demonstration could resolve any specific concerns raised by the

26   defense, the Court ordered the parties to meet and confer by November

27   3, 2015 to determine whether the matter could be resolved through

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 1   such a demonstration by the government.1        If the parties were unable

 2   to reach a resolution, the Court authorized the parties to file

 3   supplemental briefing by November 6, 2015.

 4   II.   STATEMENT OF FACTS
 5           A. Evidentiary Hearing on Motion to Suppress Evidence

 6           On October 27, 2015, the Court heard the testimony of

 7   defendant’s neighbors, Philip Mainokfi and Kurtis Klocke.            On October

 8   28, 2015, the hearing continued with the testimony of government

 9   witnesses’ Detective (“Det.”) Syvock, Newport Beach Police

10   Department, and Department of Homeland Security (“DHS”) Special Agent

11   (“SA”) Kim Speakman, and defense witnesses Theresa Bard, Orange

12   County Sheriff’s Department, and defendant.         The government ordered

13   the transcripts for these witnesses on a 14-day timeframe and, to

14   date, has not received them.       As a result, the facts stated in the

15   argument section of this brief are based on the government’s notes

16   and counsel’s recollection.

17           B. Evidentiary Hearing on Motion to Compel Discovery

18           Ms. Loehrs testified at the evidentiary hearing concerning her

19   affidavit submitted in support of defendant’s motion to compel

20   discovery.      Ms. Loehrs testified that it was her “thought” that the

21   software used by law enforcement to download child pornography images

22   from defendant went beyond what was “publicly available information.”

23   (RT 10/27/15: 12).      She testified that she has submitted declarations

24   in “numerous cases” where she has had concerns about the software.

25   (Id.)       Ms. Loehrs conceded that in the two cases she cited in her

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            The parties conferred in an attempt to resolve this motion
27   through a government demonstration of the software designed to
     address a specific concern. Defendant is maintaining his original
28   request, including a copy of the software, therefore, no
     demonstration occurred.

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 1   affidavit in support of her position, the child pornography images

 2   downloaded by law enforcement using the software were not found on

 3   the suspects’ computers.      (RT 10/27/15: 13-14, 59-60.)       She admitted

 4   that, in this case, the downloaded child pornography images were

 5   found on defendant’s computer.       (Id.)

 6           Ms. Loehrs testified that she was unaware of any finding by a

 7   court that it had “serious concerns about the software.”            (RT

 8   10/27/15: 16.)    She claimed these “serious concerns were not just an

 9   opinion because it was based on “testing, analysis, [and] research.”

10   (Id.)    However, she conceded that she had not personally conducted

11   any testing.    (Id.)   While she claimed there was research supporting

12   her view, she did not cite the research in her affidavit or supply a

13   copy to the Court.      (RT 10/27/15: 17.)    She admitted that she was

14   unaware of any cases where the evidence proved that ShareazaLE, the

15   software used to download files, went beyond publicly available data

16   and that this belief was a hypothesis.        (RT 10/27/15: 18.)

17           When confronted with questioning that the portion of her

18   declaration concerning a list of “publicly available” files referred

19   to aMule, instead of eMule as stated her affidavit, Ms. Loehrs

20   vacillated between stating that they were the same software and that

21   they were variations of software.       (RT 10/27/15: 21, 38.)       She

22   conceded that she did not state in her affidavit that there were two

23   different variations of the software and that she was unsure whether

24   the list she cited was in the aMule or the eMule file structure.               (RT

25   10/27/15: 22.)    She was unable to state whether there were two

26   executable files, one for eMule and one for aMule.           (RT 10/27/15:

27   56.)    Regarding her reference to the existence of Peer Block on

28   defendant’s computer, Ms. Loehrs stated that she had “no idea”

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 1   whether the list of IP addresses was designed to stop IP addresses

 2   that are designed to limit sharing because she had not tested Peer

 3   Block.   (RT 10/27/15: 29.)     She was also unaware of the law

 4   enforcement practice of using undercover IP addresses that don’t

 5   resolve back to their police department.         (RT 10/27/15: 32.)

 6        When asked about the type of testing she would conduct on the

 7   software, Ms. Loehrs’ answer was vague.         (RT 10/27/15: 44.)     She

 8   testified that she is not a software engineer, had no training in

 9   commercial software development, and had never been retained by a

10   commercial software company to conduct testing.          (RT 10/27/15: 60.)

11   During questing by defense counsel, Ms. Loehrs testified that Det.

12   Syvock’s affidavit referenced five files downloaded on October 16,

13   2014 and one file on November 23, 2014 and the logs provided by the

14   government did not support this information.         (RT 10/27/15:48-54.)

15   Specifically, defendant cited to Exhibit K for the fact that the

16   download of file Kidcam Mirey ended on December 30, 2014 at 16:46.

17   (RT 10/27/15: 52-54.)     While Det. Syvock’s affidavit states earlier

18   dates when the IP addresses were identified and a direct connection

19   for downloading was made, he listed the specific starting and last

20   received dates and times for each downloaded file, including data for

21   Kidcam Mirey which were consist with the log.          See (Gov. Supp.

22   Brief., Ex. A, pp. 13-16).

23   III. ARGUMENT
24        A. Motion to Suppress Evidence

25        Reviewing the totality of the evidence and applying the

26   objective circumstances of the situation from the perspective of a

27   reasonable person in the suspect’s position, this Court should find

28   that defendant was not in custody and, therefore, no Miranda

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 1   advisement was required.      Here, the videotaped interview of defendant

 2   provides irrefutable evidence of the interaction between defendant

 3   and law enforcement during the majority of the incident.            As cited in

 4   the government’s previous briefing, Det. Syvock repeatedly made it

 5   clear that defendant was free to leave.         Only approximately 15

 6   minutes elapsed from the time that law enforcement entered

 7   defendant’s apartment until the video recording begins.           There is no

 8   credible evidence that what occurred during that time was

 9   sufficiently egregious to create a police-dominated atmosphere

10   outweighing the undisputed fact that defendant was told repeatedly

11   that he was free to leave.      For example, defendant’s claim that the

12   rifle was pressed against his chest lacks credibility because

13   defendant’s general account varied as to his interaction with law

14   enforcement at the door of the residence.         When confronted with these

15   different accounts, he was pushed into as opposed to out of the

16   apartment, defendant claimed that both occurred.          SA Speakman

17   testified that defendant was in the presence of the M-4 rifle for a

18   brief period of time because SA Speakman had the rifle pointed inside

19   the apartment as defendant passed because SA Speakman was focused on

20   other potential occupants of the residence.         Also, as SA Speakman

21   explained, it would have been against his training to press a weapon

22   against someone because doing so would make it possible for the

23   person to grab the firearm.      In addition, defendant saw the rifle

24   before Det. Syvock made it clear that defendant was free to leave.

25        No evidence exists, other than defendant’s self-serving

26   statements, that a reasonable person in defendant’s situation would

27   not have felt free to leave.       As defendant’s testimony progressed,

28   his claims grew increasingly bizarre and untrustworthy.           In the end,

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 1   defendant claimed that multiple officers told him that the noises

 2   from his stomach made him sound guilty.         In addition, defendant

 3   testified that he was embarrassed to tell anyone he needed to use the

 4   restroom despite the video reflecting that he casually discussed his

 5   interest in child pornography and masturbation.          Defendant’s motion

 6   focuses on minor details in an effort to counter the totality of the

 7   evidence which weighs in the government’s favor.          Defendant relies on

 8   still images from the video recording showing Det. Syvock place his

 9   hand on his firearm when they are deciding where they should sit for

10   the interview.    It is not clear from the video (time stamp 7:15:43)

11   that defendant even saw Det. Syvock put his hand on his gun.            In his

12   declaration, defendant does not claim he saw Det. Syvock’s hand on

13   his gun.    From the video, there is no indication that this movement

14   in context would have been viewed by a reasonable person as menacing

15   or intimidating.    Furthermore, any discrepancy regarding what

16   defendant was initially wearing is not dispositive.           What is

17   undisputed is that Det. Syvock provided defendant with additional

18   clothing because of the cool weather which is consistent with the

19   rapport between defendant and Det. Syvock reflected on the video.

20   Taking defendant’s statement that he was wearing only his boxers

21   until someone brought him a sweatshirt as true, a reasonable man

22   would not have felt that because their neighbors could view them from

23   a distance wearing only boxers that the police had created an

24   environment such that he was not free to leave.          To a reasonable

25   person, the effect of any modesty on his ability to leave would have

26   been negated once additional clothing, such as the sweatshirt, was

27   provided.   To the extent defendant’s motion relies on evidence from

28   his neighbors, their testimony at the hearing demonstrated that their

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 1   opportunity to observe the situation was limited by distance and in

 2   duration.   In addition, Mr. Klocke, the downstairs neighbor, claimed

 3   to have observed defendant being led away from the apartment by law

 4   enforcement which neither party contends occurred.

 5        Defendant relies extensively on the Ninth Circuit opinion in

 6   United States v. Craighead, 539 F.3d 1073 (9th Cir. 2008).           However,

 7   there are several significant distinctions.         In Craighead, there was

 8   no recording of the statement that Craighead was free to leave.

 9   While the Craighead trial court found the agent’s testimony credible

10   that she told Craighead he was free to leave, that fact was disputed

11   and the circumstances of the statement were unclear.           Id. at n.1.

12   Specifically, the agent could not recall whether she told Craighead

13   that he was free to leave after they entered the storage room and she

14   closed the door.    Id. at 1079.     In this case, it is undisputed,

15   because of the video, that defendant was told he was free to leave

16   inside the bedroom when the door was closed.

17        The location and physical surroundings of the interview are

18   important factors to be considered and, here, weigh in favor of the

19   government.   In Craighead, the interview occurred in a storage room

20   and the Ninth Circuit noted, “[a]n interview conducted in a suspect’s

21   kitchen, living room, or bedroom might allow the suspect to take

22   comfort in the familiar surroundings of the home and decrease the

23   sensation of being isolated in a police-dominated atmosphere.”             Id.

24   at 1088.    In addition, the storage room was unfurnished and “[i]n

25   front of the door stood an armed detective wearing a raid vest.”               Id.

26   at 1089.    Craighead would have had to ask the detective to move in

27   order to leave the room and the detective was not the person who told

28   Craighead that he was free to leave.        Unlike Craighead, defendant was

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 1   seated closest to door, he did not have to ask anyone to move in

 2   order to leave the room, Det. Syvock was wearing a polo shirt instead

 3   of a raid vest, and Det. Syvock who conducted the interview was the

 4   person who told defendant repeatedly that he was free to leave.                In

 5   addition, unlike the sterile and cramped environment in Craighead,

 6   defendant was interviewed in his mother’s furnished bedroom.

 7        Defendant claims that he was unsure whether he was free to leave

 8   due to the number of officers and the fact Det. Syvock was from

 9   Newport Beach Police Department and there were also agents present

10   from DHS.    In Craighead, there were three different law enforcement

11   agencies which caused Craighead confusion and resulted in his belief

12   that he might be “confronted by members of the other two agencies and

13   forbidden to leave the house.”       Id. at 1088.    Defendant attempts to

14   claim that his situation was similar and he felt that because Det.

15   Syvock was not from DHS he did not have the authority to decide

16   whether defendant was free to leave.        However, defendant testified

17   that he knew the officers present were part of a single taskforce

18   which a reasonable person would have felt had a coordinated

19   authority.   While there were more officers involved in the execution

20   of the search warrant in this case, 14 as opposed to 8, defendant was

21   never in the presence of all of them at the same time because of

22   their difference roles.      At least five officers were assigned to the

23   perimeter team and defendant was on the deck while the search team

24   conducted its protective sweep.       In Craighead, the situation was

25   significantly more complex because it involved both military and

26   civilian law enforcement, Craighead was a military employee, and the

27   interview occurred on a military base.        Id. at 1077-78.

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 1         B. Motion to Compel Discovery

 2         Defendant’s motion to compel continues to be expansive

 3   requesting (1) an installable copy of the Peer Spectre program,

 4   (2) all documents in the government’s possession regarding Peer

 5   Spectre, including documents regarding the program’s technical

 6   specifications, and (3) all documents and records regarding any other

 7   software, computer programs, or the like, used by Det. Syvock during

 8   his investigation of defendant.        (Def. Mot. to Compel, p. 6.)       As

 9   drafted, this request could arguable include the software Det. Syvock

10   used to draft his reports.       Initially, it may have been unclear to

11   the defense the different roles of each program. The government has

12   attempted to answer questions and provide additional information,

13   such as the ShareazaLE logs.       (Gov. Supp. Brief., Ex. B.)

14         In order to prevail, defendant must make some showing as to

15   materiality.    Here, he has failed to do so.        Even in United States v.

16   Budziak, 697 F.3d 1105 (9th Cir. 2012), the case upon which defendant

17   relies most heavily, the Ninth Circuit noted that “neither a general

18   description of the information sought nor conclusory allegations of

19   materiality suffice; a defendant must present facts which would tend

20   to show that the Government is in possession of information helpful

21   to the defense.”     697 F.3d at 1111 (citation omitted).         Here, Ms.

22   Loehrs’ testimony and the few statements in her declaration are

23   either conclusory or not supported by the evidence.           She seems to

24   insinuate, although never expressly states, that the law enforcement

25   software overrode defendant’s file-sharing settings.           However, this

26   hypothesis is not supported by her knowledge of any finding by a

27   court that it had “serious concerns about the software.”            (RT

28   10/27/15: 16.)     While she tried to bolster her claim by citing to

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 1   “testing, analysis, [and] research” she conceded that it had either

 2   not occurred or was not provided to the court.          (Id.)    Furthermore,

 3   she did not know any cases where the evidence proved that ShareazaLE,

 4   the software used to download files, went beyond publicly available

 5   data, (RT 10/27/15: 18.), and her affidavit lacked precision

 6   regarding the aMule and eMule programs.         Her testimony regarding the

 7   Peer Block program and any list the user enabled to “block IP

 8   addressed associated with peer to peer file sharing” is not supported

 9   by any testing of that program, knowledge of the type of IP addresses

10   that were blocked or that the program was capable of blocking an

11   undercover law enforcement IP address.         As a result, her implication

12   that the files that Det. Syvock downloaded were not “publicly

13   available” at the time of the investigation lacks credibility and

14   should be rejected by the court. (RT 10/27/15: 29, 32.)

15         Unlike the facts of Budziak and the cases cited by Ms. Loehrs in

16   her declaration, here, there is no concern that defendant never

17   possessed the content of the child pornography files because the same

18   files were found on his computer.        Accordingly, without a specific

19   allegation of a problem supported by some evidence, the proposition

20   that Det. Syvock downloaded the files from defendant’s computer is

21   inherently less suspicious.       Without more, defendant has not met even

22   the minimal materiality requirement.        Additionally, as set forth in

23   the government previous briefing, this type of software is subject to

24   the limited law enforcement privilege.

25   IV.   CONCLUSION
26         For the reasons set forth in the government’s briefing and the

27   testimony at the evidentiary hearing, defendant’s motion to compel

28   discovery and motion to suppress should be denied.

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